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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 DEUTSCHE     BANK    NATIONAL                   §
 TRUST COMPANY, AS TRUSTEE                       §
 FOR FREMONT HOME LOAN                           §
 TRUST   2002-2, ASSET-BACKED                    §
 CERTIFICATES, SERIES 2002-2,                    §
                                                 §
       Plaintiff,                                §     Civil Action No. 4:22-cv-03146
                                                 §
 v.                                              §
                                                 §
 DIANNA FREEMAN,                                 §
                                                 §
      Defendant.                                 §

            PLAINTIFF’S MOTION TO CONTINUE INITIAL CONFERENCE

       Deutsche Bank National Trust Company, as Trustee for Fremont Home Loan Trust 2002-

2, Asset-Backed Certificates, Series 2002-2 (“Deutsche Bank” or “Plaintiff”) files this Motion to

Continue Initial Conference (“Motion”) and shows the Court as follows:

       1.      Plaintiff filed its Original Complaint (“Complaint”) on September 14, 2022, against

Defendant Dianna Freeman [ECF Doc. No. 1].

       2.      On September 15, 2022, a Summons was issued on Defendant [ECF Doc No. 4].

       3.      Plaintiff is still completing service on Defendant Dianna Freeman.

       4.      The Initial Conference for this matter is set for October 19, 2022, at 10:20 AM.

[ECF No. 5].

       5.      For these reasons, Plaintiff respectfully requests a continuance of the initial

conference by 60 days in order to successfully complete service on Defendant Dianna Freeman, to

file the corresponding returns of service, and to allow the required time for Defendant to file an

answer.



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        6.      The continuance is not sought for purposes of delay, but so that justice may be

done.

                                              PRAYER

        For these reasons, Plaintiff moves the Court to continue the initial conference for 60 days.

Plaintiff further requests all other relief to which it may be entitled.

                                                     Respectfully submitted,

                                                    By: /s/ Nicholas M. Frame
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                                                    ATTORNEYS FOR PLAINTIFF




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